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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                       July 17, 2018
                         UNITED STATES DISTRICT COURT
                                                                                    David J. Bradley, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

KIZZY LANDRY and INDIA LANDRY, §
                               §
      Plaintiffs,              §
VS.                            §                   CIVIL ACTION NO. 4:17-CV-3004
                               §
CYPRESS FAIRBANKS ISD, et al., §
                               §
      Defendants.              §
                               §

                                MEMORANDUM & ORDER

        This case concerns a high school student’s choice not to stand for the Pledge of

Allegiance and her subsequent treatment by school administrators and the school district.

Pending before the Court are several motions to dismiss: Defendant Martha Strother’s Motion

for Partial Dismissal of Plaintiffs’ Second Amended Complaint (“Strother’s Motion”) (Doc. No.

28); Defendant Cypress Fairbanks ISD’s Motion to Dismiss Plaintiffs’ Second Amended

Complaint (“Cy Fair ISD’s Motion”) (Doc. No. 29); Defendant Mark Henry’s Motion to Dismiss

Plaintiffs’ Second Amended Complaint (“Henry’s Motion”) (Doc. No. 33); and Defendants

Jamie Johnson, Mary James, Penny Irwin-Fitt, and Secretary Walters’ Motion for Partial

Dismissal of Plaintiffs’ Second Amended Complaint (“Johnson’s Motion”) (Doc. No. 34).

   I.      FACTUAL BACKGROUND

        The following is a summary of the facts alleged in Plaintiffs’ Second Amended

Complaint. (Doc. No. 24.)

        India Landry is an African American student who attended Windfern High School

(“Windfern”) in the Cypress Fairbanks Independent School District (“Cy Fair ISD”). (Id. at ¶ 1.)

She was 17 years old at the time the events at issue began, and she is now 18 years old. (Id.)

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Windfern is a “Campus of Choice,” which Cy Fair ISD students may attend upon application and

the recommendation of the home campus assistant principal and counselor. (Id. at ¶ 20.) At other

schools in Cy Fair ISD, India had sat for the Pledge of Allegiance (the “Pledge”) “around 200

times.” (Id. at ¶ 21.)

         During the spring of 2017, India’s English teacher, Jamie Johnson, told her to leave the

classroom on five separate occasions because she sat for the Pledge. (Id. at ¶ 22.) Also that

spring, India’s Street Law teacher, Mary James, told India that it was disrespectful to this country

to sit for the Pledge. (Id. at ¶ 3.) The day after Ms. James admonished India for sitting for the

Pledge, Ms. James sent India and another African American student to Principal Martha

Strother’s office because they were sitting for the Pledge. (Id.) Principal Strother is the

designated authority to handle student behavior at Windfern. (Id. at ¶ 28 n.3.) Principal Strother

told the two students they had to stand for the Pledge. (Id. at ¶ 4.)

         On October 2, 2017, India was in Principal Strother’s office when the Pledge was recited.

(Id. at ¶ 26.) India remained seated. (Id.) In response, Principal Strother “immediately expelled

India from school” by saying, “Well you’re kicked outta here.” (Id.) Assistant Principal Penny

Irwin-Fitt called India’s mother, Kizzy Landry, and gave her five minutes to pick up India or the

police would escort India from school. (Id.) While India waited, administrators made hostile

remarks to her. (Id.) Ms. Fitt said India would stand for the Pledge like the other African

American student in her class. (Id.) The secretary, Karen Walters, said, “This is not the NFL.”

(Id.)

         When Kizzy Landry arrived, Principal Strother refused to see or talk to her. (Id. at ¶ 27.)

Kizzy Landry then made numerous attempts to speak with the Cy Fair ISD Superintendent Mark

Henry, as well as Principal Strother, by phone. (Id. at ¶¶ 28-29.) Superintendent Henry is



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charged with overseeing school operations and keeping the school board informed. (Id. at ¶ 28

n.3.) At one point, another assistant principal relayed a message from Principal Strother to Kizzy

Landry: no one could sit for the Pledge and India could not return to school. (Id. at ¶ 29.)

        On October 5, 2017, India and Kizzy Landry met with Principal Strother. (Id. at ¶ 31.)

Principal Strother stated that sitting was disrespectful and would not be allowed, and that India

must stand for the Pledge to be permitted to return to Windfern. (Id.) Principal Strother

suggested that, instead of sitting, India could write about justice and African Americans being

killed. (Id.)

        On October 6, 2017, Principal Strother changed her position; India returned to Windfern

that day and was allowed to sit for the Pledge. (Id. at ¶ 34.) Several of India’s teachers did not

allow her to make up assignments she had missed in her four-day absence, and India’s grades

suffered. (Id. at ¶ 36.)

        Regarding the Pledge, the Cy Fair ISD handbook states:

        Pledge of Allegiance and a Minute of Silence Texas law requires (Texas
        Education Law Section 25.082) students to recite the Pledge of Allegiance to the
        United States flag and the Pledge of Allegiance to the Texas flag each day.
        Parents may submit a written request to the principal to excuse their child from
        reciting a pledge.

(Id. at ¶ 35.)

        Together, India and Kizzy Landry brought claims against Cy Fair ISD, Principal Strother,

Superintendent Henry, Ms. Johnson, Ms. James, Ms. Fitt, and Ms. Walters for violations of

India’s First Amendment speech rights; India’s Fifth Amendment and Fourteenth Amendment

due process rights; India’s Fourteenth Amendment equal protection rights; and India’s 42 U.S.C.




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§ 1985 and Title VI of the Civil Rights Act of 1964 anti-discrimination rights.1 India and Kizzy

Landry also ask the Court to declare Texas Education Code § 25.082 (“Texas Pledge Statute”),

or the parts requiring standing and reciting of the Pledge, unconstitutional. All Defendants move

to dismiss Kizzy Landry from the suit for lack of individual standing. All Defendants also move

to dismiss India’s Fifth Amendment claim for lack of applicability to local governmental entities

or employees, and India’s Title VI claim. Defendants Cy Fair ISD, Superintendent Henry,

Johnson, James, Fitt, and Walters also move to dismiss India’s § 1985 claim. Further, Defendant

Cy Fair ISD moves to dismiss India’s First Amendment claim, Fourteenth Amendment due

process claim, equal protection claim, and constitutional challenge to the Texas Pledge Statute,

and Defendant Superintendent Henry individually moves to dismiss India’s Fourteenth

Amendment claim on the basis of qualified immunity.

   II.       LEGAL STANDARDS

         When a Rule 12(b)(1) motion is filed together with other Rule 12 motions, the court

should address the jurisdictional attack before addressing any attack on the merits. Ramming v.

United States, 281 F.3d 158, 161 (5th Cir. 2001).

         Federal Rule of Civil Procedure 12(b)(1) governs challenges to a court’s subject-matter

jurisdiction. “Under Rule 12(b)(1), a claim is properly dismissed for lack of subject-matter

jurisdiction when the court lacks the statutory or constitutional power to adjudicate the claim.” In

re FEMA Trailer Formaldehyde Prods. Liab. Litig., 668 F.3d 281, 286 (5th Cir. 2012) (internal

quotation marks omitted). The plaintiff bears the burden of demonstrating that subject-matter

jurisdiction exists. Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).

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         The Second Amended Complaint does not explicitly delineate which Defendants each
claim is brought against. Throughout this Memorandum & Order the Court clarifies which
Defendants each claim is brought against based on the facts alleged, and which Defendants each
claim may proceed against based on the sufficiency of the allegations.
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       A court may dismiss a complaint for a “failure to state a claim upon which relief can be

granted.” Fed. R. Civ. P. 12(b)(6). “To survive a Rule12(b)(6) motion to dismiss, a complaint

‘does not need detailed factual allegations’ but must provide the plaintiff’s grounds for

entitlement to relief—including factual allegations that when assumed to be true ‘raise a right to

relief above the speculative level.’” Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). That is, a complaint must

contain sufficient factual matter that, if accepted as true, the complaint would “state a claim to

relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

Twombly, 550 U.S. at 570). A claim has facial plausibility “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. (citing Twombly, 550 U.S at 556). The plausibility standard “is not akin

to a ‘probability requirement,’” though it does require more than a “sheer possibility” that a

defendant has acted unlawfully. Id.

       Ultimately, the question for the court to decide is whether the complaint states a valid

claim when viewed in the light most favorable to the plaintiff. The court must accept well-

pleaded facts as true, but legal conclusions are not entitled to the same assumption of truth.

Iqbal, 556 U.S. at 678 (citation omitted). The court should not “strain to find inferences

favorable to the plaintiffs” or “accept ‘conclusory allegations, unwarranted deductions, or legal

conclusions.’” R2   Investments       LDC   v.   Phillips,   401   F.3d   638,   642    (5th   Cir.

2005) (quoting Southland Sec. Corp. v. Inspire Ins. Solutions, Inc., 365 F.3d 353, 361 (5th Cir.

2004)). The court should not evaluate the merits of the allegations, but must satisfy itself only

that plaintiff has adequately pled a legally-cognizable claim. United States ex rel. Riley v. St.

Luke’s Episcopal Hosp., 355 F.3d 370, 376 (5th Cir. 2004).



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   III.      ANALYSIS

             a. Standing

          A court lacks subject matter jurisdiction where there is no Article III case or controversy.

A necessary component of a case or controversy is standing. The three prerequisites for standing

are: (1) the plaintiffs have suffered an “injury in fact”—an invasion of a judicially cognizable

interest, which is (a) concrete and particularized, and (b) actual or imminent, not conjectural or

hypothetical; (2) there is a causal connection between that injury and the conduct complained

of—the injury must be fairly traceable to the challenged action of the defendant, and not the

result of the independent action of some third party not before the court; and (3) it is likely, not

merely speculative, that the injury will be redressed by a favorable decision. Bennett v. Spear,

520 U.S. 154, 162 (1997); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

          A person who claims a deprivation of constitutional rights must “prove some violation of

their personal rights.” Coon v. Ledbetter, 780 F.2d 1158, 1160 (5th Cir. 1986). In Coon, the Fifth

Circuit distinguished between two relatives of a man who was shot by a sheriff’s deputy: the

relative who proved personal loss—she had been in the trailer at which the deputy fired a round

of heavy buckshot—had standing to sue for civil rights violations, but the relative who was not

directly involved in the shooting did not. Id. at 1161.

          A parent may pursue claims for the violations of her minor child’s constitutional rights in

her capacity as a guardian, but not as an individual. See C.H. ex rel. Z.H. v. Oliva, 990 F. Supp.

341, 349 (D. N.J. 1997), aff’d in part, vacated in part on other grounds 226 F.3d 198 (3d Cir.

2000) (an elementary school student and his mother alleged that the school violated the First

Amendment by taking down a child’s religious artwork). However, courts have found that

injuries to a parent resulting from violations of her child’s constitutional rights are not



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sufficiently personal for the purposes of the parent’s individual standing. Delbridge v. Whitaker,

No. 2010 WL 1904456, at *3 (D. N.J. May 10, 2010) (citing Hannah v. City of Dover, 152 F.

App’x 114, 116–17 (3d Cir. 2005)).

       The Second Amended Complaint alleges violations of India’s constitutional rights, not

her mother’s. India is a named plaintiff and she is not a minor. Her mother, Kizzy Landry, does

not have standing to bring claims for violations of the First Amendment, Fifth Amendment,

Fourteenth Amendment, 42 U.S.C. § 1985, and Title VI.

       A parent may have standing to challenge the constitutionality of statutes concerning

public schools. For example, parents and students could challenge the practice of oral prayer in

their schools as a violation of the establishment clause. Croft v. Perry, 625 F.3d 157 (5th Cir.

2010) (minor children and their parents were able to proceed with an establishment clause

challenge to the Texas Pledge Statute); Does 1-7 v. Round Rock Indep. Sch. Dist., 540 F.Supp.

2d 735 (5th Cir. 2007) (parents of graduating students had standing to challenge a school

district’s policy of allowing graduating classes to vote on whether to have students say a prayer

at the high school commencement ceremony); Doe v. Sch. Bd. of Ouachita Par., 274 F.3d 289,

292 (5th Cir. 2001) (“The case for standing is made stronger when the plaintiffs are students

and parents of students attending public schools, who enjoy a cluster of rights vis-a-vis

their schools, and thus are not merely concerned bystanders.”); Littlefield v. Forney Indep. Sch.

Dist., 268 F.3d 275, 292 n.25 (5th Cir. 2001) (parents had standing to challenge a policy that

required them to fill out a questionnaire before their child could opt out of a uniform policy on

religious grounds). Additionally, the Texas Pledge Statue explicitly involves parents. Tex. Educ.

Code § 25.082(c) (“On written request from a student’s parent or guardian, a school district or

open-enrollment charter school shall excuse the student from reciting a pledge of allegiance”).



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Kizzy Landry has standing to challenge the Texas Pledge Statute.

           b. Municipal Liability

       A school district cannot be sued for constitutional violations “inflicted solely by its

employees or agents.” Monell v. City of New York, 436 U.S. 658, 694 (1978). Instead, for

municipal liability, the alleged violation must be attributed to the “execution of a government’s

policy or custom, whether made by its lawmakers or by those whose edicts or acts may fairly be

said to represent official policy.” Id.; see also Brown v. Houston Indep. Sch. Dist., 763 F. Supp.

905, 908 (5th Cir. 1991). “[A] plaintiff [must] show that (1) an official policy (2) promulgated by

the municipal policymaker (3) was the moving force behind the violation of a constitutional

right.” Peterson v. City of Fort Worth, 588 F.3d 838, 847 (5th Cir. 2009). Under Texas law, the

final policy-making authority for an independent school district rests with the school district’s

board of trustees. Jett v. Dallas Indep. Sch. Dist., 7 F.3d 1241, 1245 (5th Cir. 1993)

(superintendent did not have final policymaking authority in area of employee transfers which

would subject the district to liability). Jett reached the conclusion that the superintendent did not

have final policymaking authority only after a consideration of the evidence and a factual inquiry

into the specific circumstances. A district may delegate policymaking authority. Eugene v. Alief

Indep. Sch. Dist., 65 F.3d 1299, 1304 (5th Cir. 1995) (stating that individuals to whom authority

is delegated are municipal policymakers); see also Texas State Teachers Ass’n v. Mesquite

Indep. Sch. Dist., 2001 WL 1029514, at *4 (N.D. Tex. Aug. 23, 2001) (“[t]he holding in Jett

does not preclude a determination that [the superintendent] was the policymaking authority with

respect to the specific decision of which [plaintiff] complains”).

       Plaintiffs challenge Defendant Cy Fair ISD’s custom of ignoring the parental permission

provision of its written Pledge policy and refusing to allow any student—and specifically any



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African American student—to sit for the Pledge at Windfern.2 Plaintiffs’ allegations support an

inference that Defendant Cy Fair ISD had an unwritten custom or practice of requiring students

to stand during the Pledge at Windfern and disciplining those who refused. Several facts

demonstrate this custom: (1) the five separate occasions that Defendant Johnson made India

leave her English classroom for sitting during the Pledge; (2) Defendant James’ admonition to

India that it is disrespectful to sit for the Pledge; (3) Defendant James requiring India and another

African American student to leave her Street Law classroom because they were sitting during the

Pledge; (4) Defendant Principal Strother kicking India out of school after witnessing her sitting

during the Pledge; (5) Defendant Principal Strother repeatedly telling India, both before and after

she kicked India out of school, that she had to stand for the Pledge; (6) Defendant Fitt saying that

India had to stand for the Pledge; and (7) Defendant Walters saying, “[t]his is not the NFL,”

insinuating that India could not protest the Pledge the way that football players protest during the

national anthem. (Doc. No. 24 at ¶ 26.)

       The Cy Fair ISD Board of Trustees is the final policymaker. Plaintiffs allege that the

Board of Trustees’ policymaking authority was delegated to Defendant Principal Strother. When

viewed in the light most favorable to the Plaintiff, both Windfern’s status as a “Campus of

Choice” and the numerous occasions on which the unwritten policy was carried out at Windfern

support a valid claim for delegation of policymaking authority.



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          Indeed, both Plaintiffs and Defendant Cy Fair ISD take care to distinguish Windfern
from other schools in the school district. In arguing that India was not technically “expelled,”
Defendant Cy Fair ISD says that even when Windfern was not planning to re-admit India
because she sat for the Pledge, other schools in the district would have. The parties seem to agree
that there could be different policies for Windfern, which supports Plaintiffs’ argument that the
policy in place was not the written policy. Alternatively, if Plaintiffs argue that the written policy
was facially unconstitutional because of the parental permission provision, then the municipal
liability analysis is unnecessary. It is not clear from the briefs whether that is Plaintiffs’
argument.
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       At this stage, Plaintiffs have sufficiently alleged municipal liability.

           c. Due Process Claims

       Plaintiffs allege a violation of India’s due process rights under the Fifth and Fourteenth

Amendments for expulsion from public school without notice and opportunity to be heard. Based

on the facts alleged, the Court understands the due process claims to be brought against

Defendants Cy Fair ISD, Principal Strother, and Superintendent Henry—but not the other

individually-named Defendants for whom there are no or too few factual allegations related to

due process.

       First, Plaintiffs may allege due process claims for suspension or expulsion from public

school on the basis of the Fourteenth Amendment, Goss v. Lopez, 419 U.S. 565 (1975), but not

under the Fifth Amendment. “[T]he Fifth Amendment applies only to the actions of the federal

government, and not to the actions of a municipal government as in the present case. Morin v.

Caire, 77 F.3d 116, 120 (5th Cir. 1996). The Fifth Amendment claim is dismissed in its entirety.

       Second, Defendants Cy Fair ISD and Superintendent Henry argue with the facts alleged;

they say that India was not actually expelled and that India had notice and an opportunity to be

heard. These arguments fail. Defendants quibble with the word “expel” because India was

ultimately allowed to return to Windfern and because, they say, she would have been able to

attend another school in the Cy Fair ISD. Whether India could have attended a different school in

the district is not a fact alleged in the operative complaint. When India was “kicked outta”

school, it was for an indefinite period of time and she was not permitted to return for several

days. (Doc. No. 24 at ¶ 26.) Suspensions also invoke some due process rights. Goss, 419 U.S.

565. Defendants suggest that being removed from class for sitting through the Pledge provided

India with notice of her expulsion. This is complicated by India’s allegations that the reasons she



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was sent out of class and then removed from school were illegitimate and unconstitutional.

Defendants further argue that the October 6 meeting was sufficient opportunity to be heard

regarding the October 2 expulsion. But Plaintiffs allege numerous ways in which school

administrators denied India and Kizzy Landry an opportunity to be heard. Defendants’ version

of the facts does not warrant dismissal of India’s due process claim.

       Third, Defendant Superintendent Henry argues that qualified immunity protects him from

liability for any due process violations, and Plaintiffs’ responsive briefing does not engage with

this argument.3 Qualified immunity shields federal and state officials from money damages

unless a plaintiff pleads facts showing (1) that the official violated a statutory or constitutional

right, and (2) that the right was “clearly established” at the time of the challenged conduct.

Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). Where the allegations are “a supervisor’s mere

knowledge of his subordinate’s discriminatory purpose,” they are insufficient. Ashcroft v. Iqbal,

556 U.S. 662, 677 (2009). In contrast, a superintendent who acts with deliberate indifference

toward the constitutional rights of students may not be entitled to qualified immunity. Guillory v.

Thomas, 355 Fed. App’x 837, 841-42 (5th Cir. 2009). In Guillory, the superintendent was

deliberately indifferent to a student’s constitutional right to bodily integrity where he knew of a

high school band director’s inappropriate sexual behavior, rehired the band director “despite

contrary legal advice and without any restrictions, safeguards, or adequate supervision,” and

those supervisory failures resulted in the sexual abuse of a child. Id. at 840-41.

       The Second Amended Complaint alleges the violation of inter-related clearly established

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         Defendant Superintendent Henry believes that the only claims alleged against him were
for due process violations. (Doc. No. 33 at 6.) This might be a misreading of the Second
Amended Complaint, which could hold him liable for all claims. However, this
misunderstanding is irrelevant as Defendant Superintendent Henry’s qualified immunity
argument applies with equal force to all of the claims and there are insufficient facts alleged
against him.
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rights: that India was forced to leave school without due process on the basis of her

constitutionally-protected choice to abstain from standing and reciting the Pledge, as well as her

race. But the facts specific to Defendant Superintendent Henry do not rise to deliberate

indifference. Regrettably, it took him a few days to respond to the incidents that occurred at

Windfern. But, unlike in Guillory, there are no allegations that he knew of or proximately caused

India to be kicked out of school or denied her the right to remain seated for the Pledge prior to

Kizzy Landry’s first phone call to him on October 2. Defendant Superintendent Henry is entitled

to qualified immunity.

           d. First Amendment Claims

       Plaintiffs alleged that Defendants Principal Strother, Johnson, James, Fitt, and Walters

disciplined and harassed India for sitting through the Pledge in violation of her First Amendment

right to free speech, and that Defendant Cy Fair ISD is municipally liable. None of the individual

Defendants moved to dismiss the First Amendment claims, and the Court has already found

sufficient facts alleged for municipal liability at the pleading stage.

           e. Racial Discrimination Claims

       Plaintiffs alleged that India was discriminated against on the basis of race in violation of

Title VI, § 1985, and the Fourteenth Amendment equal protection clause by Defendants

Principal Strother, Johnson, James, Fitt, Walters, and—through municipal liability—Cy Fair

ISD.

       First, individuals cannot be liable under Title VI. Price ex rel. Price v. La. Dep’t of

Educ., 329 F. App’x 559, 561 (5th Cir. 2009). The Title VI claims against Defendants Principal

Strother, Superintendent Henry, Johnson, James, Fitt, and Walters are dismissed. Defendant Cy

Fair ISD cannot be liable under Title VI for its employees’ discrimination against a student



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through vicarious liability. Vouchides v. Houston Cmty. Coll. Sys., 2011 WL 4592057, at *6

(S.D. Tex. Sept. 30, 2011). A violation of Title VI must be based on intentional discrimination.

Price, 329 F. App’x at 561. Plaintiffs did not allege facts that Defendant Cy Fair ISD

intentionally discriminated against India on the basis of race. The Title VI claim against

Defendant Cy Fair ISD is also dismissed.

       Second, employees of a school board are all members of the same collective entity, and

therefore cannot form a § 1985 conspiracy of two or more people. Hilliard v. Ferguson, 30 F.3d

649, 652 (5th Cir. 1994) (allegation that a superintendent conspired with a school board in

violation of § 1985 to deprive plaintiff of his civil rights failed); Hull v. Cuyahoga Valley Joint

Vocational Sch. Dist., 926 F.2d 505 (6th Cir. 1991) (allegation that a superintendent, school

administrator, and school board conspired together in violation of § 1985 to deprive plaintiff of

his civil rights failed). The § 1985 claims against all Defendants are dismissed.

       Third, Defendant Cy Fair ISD argues that India’s equal protection claim fails because

India did not allege sufficient facts to show the cause of her treatment was her race or that she

was treated differently from white students. The Second Amended Complaint includes several

race-specific allegations: (1) India and another African American student were sent out of class

for sitting for the Pledge; (2) on a separate occasion, Defendant Fitt identified the other African

American student in her comment about requiring India to stand for the Pledge; (3) Defendant

Walters linked India’s comment to the NFL, which has garnered media attention because of

players kneeling for the Pledge in protest of treatment of African Americans; and (4) Defendant

Principal Strother suggests writing about justice and African Americans being killed as an

alternative to sitting for the Pledge. Both Defendant Walters’ and Principal Strother’s statements

signal that they view India’s choice to remain seated for the Pledge as one that is specifically



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linked to India’s race and the treatment of people of her race. At this stage, India has plausibly

alleged an equal protection claim.

              f. Challenge to Texas Pledge Statute

           Plaintiffs ask the Court to declare the Texas Pledge Statute unconstitutional. The Texas

Pledge Statute requires, in part: “The board of trustees of each school district and the governing

board of each open-enrollment charter school shall require students, once during each school day

at each campus, to recite: (1) the pledge of allegiance to the United States flag,” and (2) the

pledge of allegiance to the state flag. Tex. Educ. Code Ann. § 25.082(b). “On written request

from a student’s parent or guardian, a school district or open-enrollment charter school shall

excuse the student from reciting a pledge of allegiance.” Id. at § 250.082(c).

           First, Federal Rule of Civil Procedure 5.1 governs challenges to the constitutionality of a

statute:

           A party that files a pleading, written motion, or other paper drawing into question
           the constitutionality of a federal or state statute must promptly: (1) file a notice of
           constitutional question stating the question and identifying the paper that raises it,
           if . . . (B) a state statute is questioned and the parties do not include the state, one
           of its agencies, or one of its officers or employees in an official capacity; and
           (2) serve the notice and paper . . . on the state attorney general if a state
           statute is questioned—either by certified or registered mail or by sending it to an
           electronic address designated by the attorney general for this purpose.

Fed. R. Civ. P. 5.1(a) (emphasis added). Then the “court must, under 28 U.S.C. § 2403, certify to

the appropriate attorney general that a statute has been questioned.” Id. at 51(b). The state

attorney general will then have 60 days to intervene. Id. at 51(c). It is unclear from the filings in

this case whether Plaintiffs have served the attorney general of Texas. The Court ORDERS

Plaintiffs to demonstrate compliance with the Rule 5.1 service and notice requirement within 10

days; otherwise, the constitutional challenge to the Texas Pledge Statute will be dismissed.

           Second, Defendant Cy Fair ISD assumes for the purposes of its Motion to Dismiss that

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Plaintiffs have complied with Rule 5.1, and instead argues that Plaintiffs’ challenge to the Texas

Pledge Statute fails as a matter of law.

       The Texas Pledge Statute has been unsuccessfully challenged on establishment clause

grounds. Croft v. Perry, 624 F.3d 157, 165 (5th Cir. 2010). There is no analogous case that has

determined the Texas Pledge Statute is not a violation of the Free Speech Clause. While the

Supreme Court has held that students do not have to recite or stand for the Pledge, West Virginia

State Bd. of Educ. v. Barnette, 319 U.S. 624 (1943), Defendant Cy Fair ISD points to three cases

that might support the constitutionality of the Texas Pledge Statute. First, the Seventh Circuit has

held that public schools in Illinois could lead the Pledge daily without violating the First

Amendment so long as students were free not to participate. Sherman v. Cmty. Consol. Sch. Dist.

21 of Wheeling Twp., 980 F.2d 437 (7th Cir. 1992). Under the Texas Pledge Statute, however,

students are only free not to participate if they have advance, written permission from a parent.

Second, the Fifth Circuit has considered the opt-out procedure for a requirement that students

where a school uniform. The Fifth Circuit held that requiring parents to apply for a religious or

philosophical exemption for their children by filling out a questionnaire did not violate the First

Amendment. Littlefield v. Forney Indep. Sch. Dist., 268 F.3d 275, 293-94 (5th Cir. 2001). While

Littlefield did concern parental permission, religious objections to a uniform may differ from

speech objections to the Pledge. Third, the Eleventh Circuit held that a Florida statute was

unconstitutional to the extent that it required students to stand for the Pledge—but the

unconstitutional part was severable—and to the extent that the statute required students to obtain

parental permission to be excused from reciting the Pledge, it did not violate the First

Amendment. Frazier v. Winn, 535 F.3d 1279 (11th Cir. 2008). The Eleventh Circuit provides

guidance, but it does not control. In Frazier, the Eleventh Circuit treated the parental permission



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part of the statute as a “parental-rights statute.” Id. at 1284. Because India is not a minor, this

case could involve a challenge to the parental permission provision that is distinguishable from

Littlefield and Frazier.

         To clarify: the Court distinguishes the aforementioned cases not as a determination—or

even a signal—of the merits of Plaintiffs’ challenge to the Texas Pledge Statute, but instead to

show how the case may narrowly advance past the motion to dismiss stage if Plaintiffs have

complied with the procedural rules.

   IV.      CONCLUSION

         The Court GRANTS Strother’s Motion (Doc. No. 28), Henry’s Motion (Doc. No. 33),

and Johnson’s Motion (Doc. No. 34). The Court GRANTS IN PART and DENIES IN PART

Cy Fair ISD’s Motion (Doc. No. 29). With respect to the claims that are dismissed, the Court

dismisses them without leave to amend because amendment would be futile.

         India may proceed with the following claims: a First Amendment speech claim against

Defendants Cy Fair ISD, Principal Strother, Johnson, James, Fitt, and Walters; a Fourteenth

Amendment due process claim against Defendants Cy Fair ISD and Principal Strother; and a

Fourteenth Amendment equal protection claim against Defendants Cy Fair ISD, Principal

Strother, Johnson, James, Fitt, and Walters. Additionally, if India and Kizzy Landry can show

the Court, within 10 days, that their Texas Pledge Statute challenge complies with the service

and notice requirements of Rule 5.1, then they may proceed with their claim challenging the

Texas Pledge Statute.

         IT IS SO ORDERED.




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  SIGNED at Houston, Texas, on this the 17th day of July, 2018.




                                     HON. KEITH P. ELLISON
                                     UNITED STATES DISTRICT JUDGE




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